                                                                                      FEB 13 2018
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

UNITED STATES OF AMERICA                       )      Case No. 4:12-cr-00021-2
                                               )
v.                                             )      MEMORANDUM OPINION
                                               )
WILLIAM R. WHYTE,                              )      By: Hon. Jackson L. Kiser
                                               )          Senior United States District Judge
                 Defendant.                    )


          Defendant William R. Whyte was convicted by a jury on October 9, 2017, of nine counts

of various forms of fraud and false claims. Following the verdict, Defendant moved to set aside

the verdict, arguing among other things that the government improperly withheld Brady material.

I reviewed the evidence and denied his motion. He has now filed a motion for reconsideration of

that ruling, contending that I did not fully appreciate the evidence he cited. His motion will be

denied.

     I.      STATEMENT OF FACTS AND PROCEDURAL BACKGROUND

          Following the jury’s verdict, Defendant moved to set aside the verdict, under Rule 29, or

for a new trial, under Rule 33. In support of his motion, Defendant cited an email and letter,

drafted by Frank Skinner1 after the trial, as evidence that the government withheld evidence

favorable to him that was material to his guilt, in violation of Brady v. Maryland, 373 U.S. 83

(1963). I reviewed the letter in conjunction with Defendant’s motion and found his argument to

be without merit. At the time, I stated Defendant had failed to carry his burden to show that any

material evidence had been actually withheld.        His speculation that material evidence was




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  Skinner was the government’s primary informant and presumed star witness. During the trial, the
government elected not to call Frank Skinner as a witness, much to the surprise of Defendant and the
Court.



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withheld, I reasoned, was insufficient to show that it actually was. Accordingly, I denied his

motion.

          Shortly thereafter, Defendant filed the present motion for reconsideration. In support of

his motion, Defendant relies on the same evidence he cited originally. He contends that I

overlooked, or failed to appropriately consider, evidence included in his supplemental motion;

specifically, the letter from Frank Skinner to the government’s attorneys.            He briefed his

argument, the government responded, and Defendant replied. I have considered all the evidence

and argument, so the matter is now ripe for disposition.2

    II.      STANDARD OF REVIEW

          Although motions for reconsideration are not expressly provided for in the Federal Rules

of Criminal Procedure, courts have long recognized their propriety in the criminal setting. See,

e.g., United States v. Dieter, 429 U.S. 6, 8 n.3 (1976) (referring to treatment of motions to

reconsider in criminal cases as a “traditional and virtually unquestioned practice”). In addressing

such motions, the civil rules regarding motions to reconsider set the standards for consideration.

See United States v. Dickerson, 971 F. Supp. 1023, 1024 (E.D. Va. 1997), rev’d on other

grounds, 166 F.3d 667 (4th Cir. 1999), rev’d 530 U.S. 428 (2000). Because the decision

Defendant asks me to reconsider is my ruling on his motion to set aside the jury’s verdict, Civil

Rule 59(e) regarding motions to alter or amend the judgment is the appropriate analog. Although

that rule does not set forth specific grounds for altering or amending a final judgment, the Fourth

Circuit recognizes three grounds for amending a judgment:

                 (1) to accommodate an intervening change in controlling law;
                 (2) to account for new evidence not available at trial; or
                 (3) to correct a clear error of law or prevent manifest injustice.


2
 I am dispensing with oral argument, as the evidence was appropriately argued during the hearing on
Defendant’s Motion to Set Aside the Verdict.

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Hutchinson v. Staton, 994 F.2d 1076, 1081 (4th Cir. 1993).                   “Where the motion [for

reconsideration] is nothing more than a request that the district court change its mind, however, it

is not authorized . . . .” United States v. Williams, 674 F.2d 310, 313 (4th Cir. 1982).

    III.      DISCUSSION

           At the outset, Defendant’s motion is nothing more “than a request that the district court

change its mind,” id., and is therefore improper. Moreover, Defendant has made no effort

whatsoever to argue that his motion asserts any of the appropriate grounds for reconsideration.

See Hutchinson, 994 F.2d at 1081. On either issue, his Motion is improperly before the Court.

Nevertheless, even reaching the merits of his Motion, I see no reason to alter my original ruling.

           Defendant takes issue with my failure to discuss Frank Skinner’s October 27, 2017,

letter,3 so I will endeavor to explain further why I believe the government has not violated its

obligations under Brady. First and foremost, the Skinner letter was received by the government

attorney on October 27, 2017, eighteen days after the jury returned its verdict. Although the

government attorneys were not as prompt as possible in disclosing the letter, they nevertheless

forwarded the letter to Defendant’s counsel on December 4, 2017, in advance of the hearing on

Defendant’s Motion to Set Aside the Verdict. I fail to see, then, how the letter was actually

withheld. See United States v. Warhop, 732 F. 2d 775, 778 (10th Cir. 1984) (holding that, to

succeed on a Brady claim, a defendant must prove “the suppression of the evidence by the

government”).

           Turning to the content of the letter, the vast majority of its substance is Skinner’s

recitation of the hardships he has faced because he came forward against Defendant. He outlines


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  While I understand Defendant’s desire to have every piece of evidence analyzed and discussed, the
sheer volume of evidence makes such a task virtually impossible. I note here, again, that all the relevant
evidence was reviewed for consideration of the prior motion. The omission of any specific piece of
evidence in my ruling, or any ruling, does not mean that the evidence was not given due consideration.

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his financial issues, as well as his belief that Defendant has tried to “discredit and destroy [him]

personally and professionally.” He further elaborates on the physical toll being a government

witness has taken on his wife. He also discusses his role in the civil qui tam case and his opinion

of his attorneys’ efforts in that proceeding. Nothing there is material to Defendant’s trial, let

alone exculpatory.

       Defendant then argues that Skinner’s reference to the government attorney’s statement—

“Your opening statement to me, ‘Had I been the prosecutor, I would have charged you’, rocked

me down to the ground and set the stage for my concerns”— represents evidence of an “alternate

perpetrator.” See Juniper v. Zook, 876 F.3d 551, 570 (4th Cir. 2017). Put another way,

Defendant contends that the prosecutor’s opinion is evidence to which he is entitled under Brady.

Never mind that such evidence is inadmissible, see, e.g., Fed. R. Evid. 501, 602, 701, and

wholly irrelevant, see Fed. R. Evid. 401, Defendant believes Brady required the government to

turn over the prosecutor’s opinions. It does not.

       As a variation on his argument, Defendant next contends the “government withheld any

report(s) documenting trial preparation meetings with Frank Skinner which took place on

September 13 and 14, 2017.” While no “report” was disclosed, Defendant has not offered any

evidence to show that a “report” was created. Nevertheless, on September 15, the government

informed Defendant’s counsel:

               In addition, at meetings on September 13-14, 2017, at which Agent
               Schoeneweis was present, Frank Skinner stated on multiple
               occasions that he does not remember the events of 2006, but
               provided information consistent to his prior testimony. He also
               stated that, on an unknown date, he emailed Duke Leonard that the
               door handles on the vehicle were bad, or words to that effect. On
               September 15, 2017, in a telephone call to Agent Schoeneweis,
               Skinner clarified his prior statement and stated that he told Duke
               Leonard and other unknown person [sic], on an unknown date, at a
               bar while they were drinking, that the vehicles had a problem or

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               words to that effect. Leonard stated that this was too bad, because
               the vehicles looked cool, or words to that effect.

(Def.’s Mot. to Set Aside the Verdict Ex. B, Oct. 23, 2017 [ECF No. 189-2].) Additionally, the

government disclosed that Skinner would have testified consistently with his deposition

testimony in the qui tam case.4 Despite these disclosures by the government, Defendant surmises

that the government’s letter represents “‘half-truths’ intended to conceal exculpatory evidence

that was revealed during [the September 13–14] meetings with the government’s ‘star’ witness.”

       Next, Defendant contends that the government’s opinion of Skinner is evidence of an

“alternate perpetrator.” Whether the government might have charged Skinner is not evidence of

an alternate perpetrator, and it certainly is not “evidence [pointing] to a different individual as

perpetrating the convicted offense,” as Defendant argues. Rather, it highlights the myriad factors

prosecutors must consider when making charging decisions. Defendant has not disputed that any

documentary evidence was withheld; thus, he was in possession of evidence suggesting

Skinner’s involvement.

       Throughout the trial, Defendant repeatedly cast blame on Frank Skinner, arguing that

Skinner, not Defendant, perpetrated the fraud against the government. He cannot seriously argue

that this letter somehow alerted him to a potential “alternate perpetrator” of which he was

unaware. With that in mind, Defendant’s argument is simply that the government failed to turn

over its opinion regarding Frank Skinner. Defendant is not entitled to the government’s thoughts

and opinions on its evidence.



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  Defendant offers a very misleading argument on this point. In its September 15 letter, the government
did state that Skinner “provided information consistent with his prior testimony.” Obviously, this
includes is prior deposition testimony, as there were no qualifiers in the government’s disclosure.
Defendant’s quibble, therefore, seems to be the exclusion of the phrase, “testimony the government
believes to be false based on overwhelming contradictory evidence.” Yet again, at its core, Defendant’s
complaint is that he was not privy to the government attorneys’ opinions about Skinner’s testimony.

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       Again, as I stated before, Defendant has failed to show what, if anything, was withheld.5

And he has certainly failed to show that anything the government may have withheld was

“material.” See Moore v. Illinois, 408 U.S. 786, 794–95 (1972). At most, Defendant has shown

that he did not receive a word-for-word transcript of the government’s meetings with Frank

Skinner. That is a far cry from establishing wrongful conduct under Brady. As I held before and

reiterate here, Defendant has not presented this court with any evidence of a Brady violation.

       Defendant admits as much. He says, “[T]he defense cannot present the Court with the

physical report that it is referencing.” While that is true, it does not go far enough. Defendant

cannot show: (1) that a report was even created; (2) what was discussed or disclosed by Skinner

and the government attorneys and agents at any such meeting(s); or (3) whether what was

discussed or disclosed is information to which Defendant is entitled. He has failed, again, to

demonstrate a Brady violation.

       In his reply to the government’s response, Defendant argues that the government

intentionally withheld all the evidence that led it to conclude that Skinner was not a reliable

witness. What Defendant cannot show, however, is whether there is any evidence over and

above everything that had already been disclosed. Defendant has not even attempted to show

that Skinner disclosed something new to the government attorneys and agents on September 13–

14. Defendant has not shown the government decided not to call Skinner as a witness because it

concluded, based on the wealth of documentary evidence that stood in contrast to his prior

testimony, that it could not ethically sponsor Skinner’s testimony. (See Mot. in Limine, Oct. 4,

2018 [ECF No. 158].)



5
 Defendant assumes, but does not establish, that the government attorney’s statement about charging
Skinner occurred during the September 13 meeting. The government does not appear to dispute this
unsupported assumption.

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         At the end of the day, Defendant’s argument relies solely on speculation. When the

government failed to call Frank Skinner, it was a shock. While it was certainly a surprising

tactic, it does not establish prosecutorial misconduct or a Brady violation. In the absence—

still—of any evidence to show that actual, material evidence was withheld, Defendant has failed

to establish that reconsideration of the prior ruling is warranted.

   IV.      CONCLUSION

         In analyzing the evidence, Defendant doubts Frank Skinner’s honesty with the

government. As it turns out, the government ultimately came to the same conclusion. The

government was obligated to disclose all material evidence which led it to that conclusion, not its

ultimate opinion of that evidence.      Accordingly, Defendant has failed to carry the burden

required to show a Brady violation. Moreover, his Motion to Reconsider is merely a request that

I change my mind. For that reason alone, his Motion is improper and will be denied.

         The clerk is directed to forward a copy of this Memorandum Opinion and accompanying

Order to all counsel of record.

         ENTERED this 13th day of February, 2018.



                                               s/Jackson L. Kiser
                                               SENIOR UNITED STATES DISTRICT JUDGE




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